Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 1 of 21 PageID #:308
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 2 of 21 PageID #:309
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 3 of 21 PageID #:310
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 4 of 21 PageID #:311
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 5 of 21 PageID #:312
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 6 of 21 PageID #:313
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 7 of 21 PageID #:314
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 8 of 21 PageID #:315
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 9 of 21 PageID #:316
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 10 of 21 PageID #:317
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 11 of 21 PageID #:318
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 12 of 21 PageID #:319
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 13 of 21 PageID #:320
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 14 of 21 PageID #:321
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 15 of 21 PageID #:322
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 16 of 21 PageID #:323
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 17 of 21 PageID #:324
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 18 of 21 PageID #:325
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 19 of 21 PageID #:326
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 20 of 21 PageID #:327
Case: 1:01-cr-00852 Document #: 120 Filed: 09/19/02 Page 21 of 21 PageID #:328
